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                                                                                               FILED
                                                                                           IN OPEN COURT


                   IN THE UNITED STATES DISTRICT COURT FOR THE                             JAN I 82017
                              EASTERN DISTRICT OF VIRGINIA
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                                       Alexandria Division


UNITED STATES OF AMERICA

       V.                                                     No. l:l7-CR-2


SCOTT A. FLANDERS,

               Defendant.

                                    STATEMENT OF FACTS


       1.      In 2010, the defendant, Scott A. Flanders, was a real estate settlement attorney

who also had been investing in residential real estate. He and two other men jointly had

purchased a residential property in Lovettsville, Virginia. After the financial crisis, the value of
the property had dropped below the amount ofthe outstanding mortgage held by Cardinal Bank.
In early 2010, the defendant and his partners requested that Cardinal Bank approve a short sale
ofthe property; that is, they requested that the bank approve a sale for an amount less than the
amount owed. Cardinal Bank agreed, but declined to forgive any money that the defendant and
his panners would still owe on the mortgage after the sale.
       2.      In the spring of2010. the defendant and his two partners short sold the property to
another individual, a real estate agent who the defendant knew. The agent bought and sold
residential properties through his investment company. After the sale, the defendant and his
partners still owed Cardinal Bank approximately $327,703. The defendant learned that the
agent had quickly re-sold the property for a substantial profit. The defendant complained to the
agent, who agreed to give the defendant $20,400 and one ofhis partners the same amount.
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